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               IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF FLORIDA
                     WEST PALM BEACH DIVISION


    UNITED STATES OF
    AMERICA,

                Plaintiff,

          v.                                    No. 9:23-cr-80101-AMC

    DONALD J. TRUMP,
    WALTINE NAUTA, AND
    CARLOS DE OLIVEIRA.

                Defendants.


           ORDER GRANTING MOTION FOR LEAVE TO FILE
            BRIEF AS AMICI CURIAE OPPOSING SPECIAL
               PROSECUTOR’S MOTION TO MODIFY
                    CONDITIONS OF RELEASE


         THIS CAUSE comes before the Court upon the Motion of 24 States

   for Leave to File Brief as Amici Curiae Opposing the Special Prosecutor’s

   Motion to Modify Conditions of Release (the “Motion”). This Court having

   considered the Motion and all other relevant factors, it is ORDERED

   AND ADJUDGED as follows:

         The Motion is GRANTED. The Court accepts as filed the brief of

   States of Iowa, Florida, West Virginia, Alabama, Alaska, Arkansas,


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   Idaho, Indiana, Kansas, Kentucky, Louisiana, Mississippi, Missouri,

   Montana, Nebraska, North Dakota, Ohio, Oklahoma, South Carolina,

   South Dakota, Tennessee, Texas, Utah, and Wyoming, as Amici Curiae,

   submitted as an attachment to the Motion.

         DONE AND ORDERED in Chambers in [West Palm Beach or Fort

   Pierce], Florida, this _____ day of _____, 2024.

                                   ______________________________________
                                   AILEEN CANNON
                                   UNITED STATES DISTRICT JUDGE

   cc:   All Counsel of Record




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